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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA


 SMARTMATIC USA CORP.,
 SMARTMATIC INTERNATIONAL
 HOLDING B.V., and SGO
 CORPORATION LIMITED,

                             Plaintiffs,        Case No. 22-cv-0098-WMW-JFD
                        v.

 MICHAEL J. LINDELL and MY
 PILLOW, INC.,

                             Defendants.

                             NOTICE OF WITHDRAWAL

TO:    The Clerk of the Above-Named Court and to All Parties and Counsel of Record:

       PLEASE TAKE NOTICE that attorney Michael E. Bloom (admitted pro hac vice)

(IL Bar No. 6302422), hereby withdraws as counsel of record herein for Plaintiffs

Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO Corporation

Limited, pursuant to Local Rule 83.7. All other counsel of record for Plaintiffs Smartmatic

USA Corp., Smartmatic International Holding B.V., and SGO Corporation Limited remain.



Dated: April 15, 2024                               Respectfully submitted,

                                             /s/ Michael E. Bloom
                                             Michael E. Bloom (admitted pro hac vice)
                                             Illinois ARDC No. 6302422
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                               Attorney for the Plaintiffs Smartmatic USA
                               Corp., Smartmatic International Holding B.V.,
                               and SGO Corporation Limited




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